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                  EXHIBIT J
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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION
                          CASE NO.: 8:15-cv-00192-EAK-AEP

        AMERICAN GENERAL LIFE INSURANCE COMPANY,
                         Plaintiff,
        VS.
        KEVIN H. BECHTEL, et al,
                     Defendants.
        ________________________________________________________

          DEPOSITION OF:                GARY RICHARDSON

          TAKEN BY:                     DAVID DONAHUE, ESQUIRE

          TAKEN:                        January 19, 2017

          TIME:                         9:30 a.m. - 12:00 p.m.

          PLACE:                        Verbatim Professional Reporters
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                                        Suite 200
                                        Tampa, FL 33607

          REPORTED BY:                  CHARLENE M. EANNEL, RPR
                                        Court Reporter, Notary Public

                                        PAGES 1 - 94


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   1           Q.     Okay.    Do you know one way or the other whether

   2     or not in 2007 as an appointed insurance agent, or at

   3     least at that time an agent who was high enough in the

   4     hierarchy to be a recruiting agent -- whether or not you

   5     would have had access to the various contracting forms on

   6     an online database?

   7           A.     I think -- I would -- again, we have to -- if

   8     they're going to be in our hierarchy, it doesn't matter

   9     where they -- there's almost a protection issue there.

  10                  If they were able to obtain that contracting

  11     paperwork themselves and they sent it in to American

  12     General, American General would have sent that paperwork

  13     to us because we'd still need to sign off on it.

  14           Q.     Right.

  15           A.     So -- but I would tell you, I think that

  16     probably rarely happened.         I would think that our

  17     contracting area would more than likely send that

  18     paperwork out to where they were directed to send it to.

  19           Q.     That was my question, I guess.

  20           A.     Yes.

  21           Q.     When there was an agent who wanted to be

  22     licensed to -- with American General through your

  23     hierarchy, am I understanding correctly that the licensing

  24     and contracting department within Life Brokerage Equity

  25     Group would provide the necessary paperwork to the agent?



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   1           A.     That's correct.

   2           Q.     And so my question is:       Do you know whether or

   3     not at that time that the licensing and contracting people

   4     at the Life Brokerage Equity Group would have had access

   5     onto an online, you know, forms database?

   6           A.     Absolutely.

   7           Q.     Okay.

   8           A.     Absolutely.

   9           Q.     So they could pull all the necessary documents?

  10           A.     Absolutely.

  11           Q.     All right.

  12                  Am I correct, then, that those documents would

  13     be completed by the prospective agent?            Someone from --

  14     either yourself or someone on behalf of Life Brokerage

  15     Equity Group would sign where they were supposed to be

  16     approving or making this sort of recommendation, and then

  17     it would all get submitted to American General?

  18           A.     I think what you said was we would send that

  19     application to the applicant?

  20           Q.     Yeah.

  21           A.     The applicant would fill that information out,

  22     send it back to us.       They would go over that application,

  23     stamp it, get our signatures, whatever it was that they

  24     needed to do or had to do, and then submit it over to

  25     American General in this case, yes.



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   1     Stands to reason if it's 178, it's got to be all 178s.

   2           Q.     And the versions were available online?

   3           A.     They would be online.

   4                  MR. MILLIAN:     Are you at a good breaking point?

   5                  MR. DONAHUE:     Yes, yes.

   6                  (Recess taken.)

   7                  MR. DONAHUE:     We are back on the record.

   8                  I will mark this as Exhibit 8.

   9                  (Whereupon, Exhibit 8 was marked for

  10     identification.)

  11     BY MR. DONAHUE:

  12           Q.     And I will represent to you that it's just sort

  13     of a commission audit that relates to the sale of two

  14     policies to Mr. Michael Sasoni that form the basis of the

  15     lawsuit today.      And I wanted you to look at it so we can

  16     sort of talk through real quick the commission piece of it

  17     and who was paid.

  18                  The numbers are, you know -- policies were the

  19     same face amount so the numbers for each policy are

  20     identical, but for purposes of sort of walking through it,

  21     we will just look at one set of them.

  22                  So I will also represent to you that all of

  23     these policies -- that there were two writing agents that

  24     were on the application, Kevin Bechtel and Steven

  25     Wechsler, and it was a 65/35 commission split on the



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   1     application with Mr. Wechsler getting the 65 piece.

   2                  So in that instance, we can see that commissions

   3     were paid to Steven Wechsler as the writing agent.

   4                  Do you see that?

   5           A.     I do, yes.

   6           Q.     And that Life Brokerage Partners received a

   7     commission?

   8           A.     Uh-huh.

   9           Q.     Then there are also commissions paid to Life

  10     Brokerage Financial Group and Financial Energy Insurance

  11     Group.

  12           A.     I see it.

  13           Q.     Okay.   Now, obviously Life Brokerage Financial

  14     Group would be your entity, correct?

  15           A.     It would be.

  16           Q.     All right.    So if these commission payments were

  17     made over from 2007, through to 2009, based on what your

  18     understanding of the changes that took place in 2007 is,

  19     is this sort of a commission structure that you

  20     contemplated as part of the change?

  21           A.     Contemplated as part of the change.           If you're

  22     telling me are these the commissions, I would have to say

  23     I guess they are, yes.

  24           Q.     Well, not necessarily are the numbers right, but

  25     is this the hierarchy that was put in place --



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   1           A.     Yes.

   2           Q.     -- post the 2007 change?

   3           A.     Yes.

   4           Q.     And so because Life Brokerage Partners and Kevin

   5     Bechtel were in your downline, your entity would have

   6     received some portion of commissions associated with

   7     policies sold in that hierarchy, right?

   8           A.     Yes.

   9           Q.     Same with Mr. Ekberg, right?

  10           A.     Yes.

  11           Q.     There would not be any reason in late 2007

  12     through 2009 for Life Brokerage Equity Group to receive

  13     any commission, correct?

  14           A.     It's a dissolved company.        It would not receive

  15     any commissions.

  16           Q.     Right.    And Life Brokerage Equity Group would

  17     not have been in this hierarchy, right?

  18           A.     That's correct.

  19           Q.     And that's the way it was set up, correct?

  20           A.     That's correct.

  21           Q.     Going back to this 2007, you know, change that

  22     we've discussed, do you believe that if Mr. Bechtel is

  23     taking the position in this case that he was never

  24     presented with the entire agency agreement that is

  25     associated with the 2007 association transaction, do you



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   1            that we had to have hard copies of them.
   2     BY MR. DONAHUE:
   3            Q.     Yeah.
   4            A.     That makes sense to me that they were online.
   5            Q.     Do you think that it would be reasonable for a
   6     contracting agent to believe that his contract with
   7     American General consisted entirely of a one-page
   8     agreement -- let's just use this as an example to show
   9     you -- this is the first page -- I'm sorry.               Just for
  10     identification, it's AG Bechtel 000057.
  11                   MR. MILLIAN:     Object to form.
  12                   THE WITNESS:     So your question to me is what,
  13            now?
  14     BY MR. DONAHUE:
  15            Q.     So my question is:       Would it be reasonable for
  16     an experienced agent to assume that the entirety of their
  17     agreement with American General consists of that single
  18     page that we just identified?
  19                   MR. MILLIAN:     Object to form.
  20                   THE WITNESS:     I would think that there's a
  21            definition of things in a contract.
  22     BY MR. DONAHUE:
  23            Q.     Like actual terms and conditions?
  24            A.     Yes.
  25            Q.     And not just a signature page?



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   1           A.     Yes.

   2           Q.     Okay.

   3                  MR. DONAHUE:     Let me take two seconds.        I may be

   4           wrapping up here.

   5                  (Pause in proceedings.)

   6     BY MR. DONAHUE:

   7           Q.     Mr. Richardson, prior to today had you ever had

   8     any discussions with Mr. Millian?           Did you know him?

   9           A.     Do I know him?

  10           Q.     Yes.

  11           A.     Yes.    Had we had any discussion about any of

  12     this?    No.

  13           Q.     When was the last time before today you spoke

  14     with Mr. Millian?

  15                  MR. MILLIAN:     Didn't I see you on the golf

  16           course?

  17                  It's -- in the last year, we've spoken to each

  18           other for thirty seconds.         I may be off.      It might be

  19           a minute and a half.

  20     BY MR. DONAHUE:

  21           Q.     Had you had any conversations with Mr. Millian

  22     about this lawsuit?

  23           A.     We've never spoken a word about anything --

  24     about any of this.

  25           Q.     What about with Kevin Bechtel?



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